         Case 2:19-md-02904-MCA-MAH Document 564 Filed 08/04/23 Page 1 of 2 PageID: 10943

                     CARELLA, BYRNE, CECCHI, OLSTEIN, BRODY & AGNELLO, P.C.
                                                          COUNSELLORS AT LAW
                                                                _____________

                                                                                     PETER G. STEWART
CHARLES C. CARELLA          DONALD F. MICELI             5 BECKER FARM ROAD                                            RAYMOND J. LILLIE
JAN ALAN BRODY              CARL R. WOODWARD, III                                    FRANCIS C. HAND                   GREGORY G. MAROTTA
                                                         ROSELAND, N.J. 07068-       JAMES A. O’BRIEN, III
JOHN M. AGNELLO             MELISSA E. FLAX                                                                            KEVIN G. COOPER
                                                                  1739               JOHN G. ESMERADO
CHARLES M. CARELLA          DAVID G. GILFILLAN                                                                         MARYSSA P. GEIST
JAMES E. CECCHI             G. GLENNON TROUBLEFIELD       PHONE (973) 994-1700       STEVEN G. TYSON                   JORDAN M. STEELE**
                            BRIAN H. FENLON                 FAX (973) 994-1744       MATTHEW J. CERES                  MICHAEL K. BELOSTOCK
                                                                                     MARC D. MORY
                            LINDSEY H. TAYLOR              www.carellabyrne.com                                        BRIAN F. O’TOOLE**
                            CAROLINE F. BARTLETT                                     ZACHARY A. JACOBS***              SEAN M. KILEY
                            ZACHARY S. BOWER+                   August 3, 2023                                         ROBERT J. VASQUEZ
                            DONALD A. ECKLUND
                            CHRISTOPHER H. WESTRICK*                              OF COUNSEL

                            STEPHEN R. DANEK
                                                                                  *CERTIFIED BY THE SUPREME COURT OF
                            MICHAEL A. INNES
                                                                                  NEW JERSEY AS A CIVIL TRIAL
                            MEGAN A. NATALE                                       ATTORNEY

              VIA ECF                                                             +MEMBER FL BAR ONLY
                                                                                  **MEMBER NY BAR ONLY
                                                                                  ***MEMBER IL BAR ONLY


              Honorable Madeline Cox Arleo
              United States District Judge
              Martin Luther King Jr. Building
              50 Walnut Street
              Newark, NJ 07102

                                Re:       In re American Medical Collection Agency, Inc.
                                          Customer Data Security Breach Litigation
                                          Civil Action No. 19-md-2904(MCA)(MAH)

              Dear Judge Arleo:

                      We are Interim Lead Counsel for Plaintiffs in the above matter. At the last status
              conference on July 18, 2023, Your Honor agreed to allow Plaintiffs and the Quest and Optum360
              Defendants to submit supplemental briefing in connection with pending motions to dismiss filed
              by Quest and Optum360. ECF No. 551. Due to an inconsistency between the status conference
              transcript and the minute order associated with the conference there was confusion – at least from
              Plaintiffs’ perspective – regarding the briefing schedule. Accordingly, in the interests of clarity
              and fairness, Plaintiffs, Quest, and Optum360 have agreed to the following briefing schedule:

                            •    Plaintiffs’ supplemental brief is due on August 7th

                            •    Defendants’ responses are due on August 23rd

                            •    Plaintiffs’ reply is due on August 28th

                     If this briefing schedule is acceptable to Your Honor, we respectfully request that you “So
              Order” this letter and have a “filed” copy returned to us via the ECF system.

                       We thank the Court for its attention this matter and are available to answer any questions.

                                                           Respectfully submitted,

                                                          CARELLA, BYRNE, CECCHI,
                                                       OLSTEIN, BRODY & AGNELLO
Case 2:19-md-02904-MCA-MAH Document 564 Filed 08/04/23 Page 2 of 2 PageID: 10944

  Honorable Madeline Cox Arleo
  August 3, 23
  Page 2


                                            /s/ James E. Cecchi
                                                JAMES E. CECCHI

  cc: All Counsel of Record (via ECF)

                                                                  8/4/23
                                                                  SO ORDERED.

                                                                  s/ Madeline Cox Arleo
                                                                  MADELINE COX ARLEO
                                                                  UNITED STATES DISTRICT JUDGE




   C ARELLA , B YRNE , C ECCHI , O LSTEIN , B RODY & A GNELLO
                    A PROFESSIONAL CORPORATION
